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7

8                                  IN THE UNITED STATES DISTRICT COURT

9                                     EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                            CASE NO. 1:10-CR-00249 AWI BAM

11                                Plaintiff,              STIPULATION AND ORDER
                                                          CONTINUING SENTENCING HEARING
12
                            v.                            Old Date: May 5, 2014
13                                                        Old Time: 10:00 a.m.

14   MONICA MARIE HERNANDEZ,                              New Date: Dec. 8, 2014
                                                          New Time: 10:00 a.m.
15                               Defendant.               Court:     Two
                                                           (Hon. Anthony W. Ishii)
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18          Defendant Monica Marie Hernandez pleaded guilty on June 10, 2013 to Count 1 of the
19   Superseding Indictment in this case. Sentencing is currently set for May 5, 2014, at 10:00 a.m.
20          In light of the change as to the co-defendants’ trial date, which is now set for November 4, 2014,
21   and to allow additional time for Ms. Hernandez to fulfill her obligations under the plea agreement, the
22   parties hereby stipulate and jointly request that the Court order that the sentencing hearing in this case be
23   continued from May 5, 2014 to December 8, 2014, or to the earliest time thereafter that is convenient to
24   the Court. The parties further stipulate and jointly request that the Court extend the deadline to submit
25   informal objections to the Pre-Sentence Report (PSR) to three weeks prior to the continued sentencing
26   date, and extend the deadline to file formal objections to the PSR to one week prior to the continued
27   sentencing date.
28   ///

       Stipulation & Order                                1
       Continuing Sentencing Hearing
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2    Dated: April 14, 2014
3                                                         Respectfully Submitted,
4                                                            BENJAMIN B. WAGNER
                                                             United States Attorney
5
                                                             /s/ Kirk E. Sherriff
6                                                            KIRK E. SHERRIFF
                                                             HENRY Z. CARBAJAL III
7                                                            Assistant United States Attorneys
8
                                                             /s/ W. Scott Quinlan
9                                                            (authorized on 4/14/14)
                                                             W. SCOTT QUINLAN
10                                                           Attorney for Defendant MONICA HERNANDEZ
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14                                                   ORDER
15          The Court has reviewed and considered the stipulation of the parties to continue the sentencing
16   hearing in this case. Good cause appearing, IT IS ORDERED that the sentencing hearing is continued
17   from May 5, 2014 to December 8, 2014, at 10:00 a.m., and that the deadlines to submit informal
18   objections and to file formal objections to the Pre-Sentence Report are extended as set forth above.
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20   IT IS SO ORDERED.
21   Dated: April 14, 2014
                                                 SENIOR DISTRICT JUDGE
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      Stipulation & Order                                2
      Continuing Sentencing Hearing
